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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION



  SCOTT WYNN, an individual,                         Civil Action
                                                     No. 3:21-cv-00514-MMH-LLL
                      Plaintiff,

                        v.

  TOM VILSACK, in his official capacity as
  U.S. Secretary of Agriculture; ZACH
  DUCHENEAUX, in his official capacity as
  Administrator, Farm Service Agency,

                      Defendants.


     DECLARATION OF WENCONG FA IN SUPPORT OF PLAINTIFF’S
                 MOTION FOR ATTORNEY FEES



       The facts set forth in this declaration are based on my knowledge and, if called

 as a witness, I can competently testify to their truthfulness under oath. As to those

 matters that reflect a matter of opinion, they reflect my personal opinion and judgment

 upon the matter.

       I, WENCONG FA, hereby declare and if called as a witness would testify as

 follows:

       1.     I am lead counsel of record for Plaintiff Scott Wynn in this case and a

 senior attorney for the Pacific Legal Foundation (PLF). I had primary responsibility



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 for most of the briefing, conferences, oral argument, and communications with Mr.

 Wynn and opposing counsel.

       2.     I was admitted to the Texas Bar in 2013. I am also licensed to practice

 law in Texas and several federal courts, as well as the United States Supreme Court.

 Prior to joining PLF, I worked at Human Rights Initiative and Institute for Justice.

       3.     I have litigated numerous cases dealing with private property, equality

 under the law, school choice, economic liberty, and the First Amendment. As a

 Supreme Court litigator, I was counsel of record on the Petitions for Writ of Certiorari

 in Minnesota Voters Alliance v. Mansky, 138 S. Ct. 1876 (2018) and Cedar Point Nursery v.

 Hassid, 141 S. Ct. 2063 (2021), and worked on the litigation teams on the merits of

 those cases. I am also a frequent speaker on legal panels and author articles for the

 legal and mainstream press.

       4.     I have reviewed the record of hours associated with my work on this case

 and all the costs that have been submitted with this motion. I verify that the hours

 submitted are a true and correct reflection of the hours of substantive work I

 contributed to this case. The costs identified are a true and correct reflection of the

 costs that PLF necessarily incurred the identified costs in litigating this case. The

 entries submitted reflect the billing judgment of my team members and myself.

       5.     Attached as Exhibit A is a true and correct copy of the declaration from

 Scott Wynn, attesting that he is a private individual and that his net worth did not

 exceed $2,000,000.00 at the time this case was filed.



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       6.     Attached as Exhibit B is a true and correct copy of the declaration from

 Jacksonville, Florida-based attorney Adam Brandon in support of this motion. Mr.

 Brandon attests that the prevailing market rate for lawyers of skill, experience, and

 reputation comparable to PLF’s attorneys that litigated this case, in similarly complex

 litigation, ranges from $250 to $500 per hour or above.

       7.     Attached as Exhibit C is a true and correct copy of the declaration from

 Jacksonville, Florida-based attorney David Osborne in support of this motion. Mr.

 Osborne attests that the prevailing market rate for lawyers of skill, experience, and

 reputation comparable to PLF’s attorneys that litigated this case, in similarly complex

 litigation, exceeds $250 to $300 per hour.

       8.     Attached as Exhibit D is a true and correct itemized record of the

 reasonable hours of work performed by PLF attorneys in this case. This report of time

 expended on the case has been reconstructed from contemporaneous time sheets. We

 have taken a conservative approach to the hours requested, including only what is

 essential. Time devoted to any tasks for which it could conceivably be deemed not

 proper to bill a client or which could conceivably be viewed as excessive, redundant,

 or otherwise unnecessary has been removed. We have included hours only for primary

 attorneys and have removed over 140 hours of recorded attorney time. Included for

 each item is the relevant attorney and task and time expended per activity; time

 expended totals are also included.




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       9.     Attached as Exhibit E is a true and correct itemized record of reasonable

 expenses incurred by PLF attorneys in service of this litigation. This report of costs has

 been reconstructed from contemporaneous recording of costs. PLF is in possession of

 supporting invoices and provides as exhibits invoices of high-cost items. Included for

 each item is the date the expense was incurred, a description of the expense, and the

 amount incurred. Also shown, in the “Expert Services” section is a breakdown of the

 costs incurred and the amount in costs requested; the latter amount is less than the cost

 incurred in order to comply with principles of the Equal Access to Justice Act, 28

 U.S.C. § 2412. The expert service expenses are further itemized through the invoices

 which are Exhibit F. Items identified in Mr. Wynn’s Bill of Costs have been excluded.

       10.    Attached as Exhibit F is a true and correct copy of the invoice for expert

 services performed by Stephen G. Bronars, PhD, and his team from the firm,

 Edgeworth Economics.

       11.    Attached as Exhibit G is a true and correct copy of the expert report by

 Mr. Wynn’s rebuttal expert, Stephen G. Bronars, PhD.

       12.    Attached as Exhibit H is a true and correct copy of the expert report by

 the Defendants’ expert, Alicia M. Robb, PhD.

       13.    Attached as Exhibit I is a true and correct copy of the invoice for my air

 travel for the motion for preliminary injunction hearing.

       14.    Attached as Exhibit J is a true and correct copy of the invoice for the

 hotel for the motion for preliminary injunction hearing.


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       I declare under penalty of perjury under the laws of the United States of

 America that the foregoing is true and correct.

       EXECUTED: October 12, 2022, at Sacramento, Calif.


                                         SIGNED:

                                         s/ Wencong Fa
                                         Wencong Fa*
                                         Lead Counsel
                                         Cal. Bar No. 301679
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                                         Sacramento CA 95814
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                                         * Special Admission




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